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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

Ronesha Smith,                                          )
                                                        )
                      Plaintiff,                        )
                                                        )          Case No.: 1:21-cv-02025
           v.                                           )
                                                        )
Signature Systems, Inc.,                                )            DEFENDANT DEMANDS TRIAL BY JURY
                                                        )
                      Defendant.                        )

    DEFENDANT’S ANSWER AND AFFIRMATIVE AND OTHER DEFENSES TO
                PLAINTIFF’S CLASS ACTION COMPLAINT

           Defendant, Signature Systems, Inc., through its attorneys, for its Answer and Affirmative

Defenses to Plaintiff’s Class Action Complaint, states as follows:

                                                     NATURE OF ACTION.

           1.         Plaintiff brings this action for damages and other legal and equitable remedies

resulting from the illegal actions of Defendant in collecting, storing and using Plaintiff’s and other

similarly situated individuals’ biometric identifiers 1 and biometric information 2 (referred to

collectively at times as “biometrics”) without obtaining the requisite prior informed written consent

or providing the requisite data retention and destruction policies, in direct violation of BIPA.

       ANSWER: Defendant admits that Plaintiff purports to bring this action as
alleged but denies that Plaintiff is entitled to any damages, denies that Defendant
engaged in any illegal actions, and denies that Defendant collected, stored or used
Plaintiff’s or any other individuals’ biometrics. Further answering, the allegation that
Defendant violated BIPA is a legal conclusion to which no response is required. To the
extent a response is required, Defendant denies same.




1
  A “biometric identifier” is a personal feature unique to an individual, such as a fingerprint, handprint, iris scan, scan of face geometry, among
others.
2
  “Biometric information” is any information captured, converted, stored or shared based on a person’s biometric identifier used to identify an
individual.




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        2.      The Illinois Legislature has found that “[b]iometrics are unlike other unique

identifiers that are used to access finances or others’ sensitive information.” 740 1LCS 14/5(c).

For example, social security numbers, when compromised, can be changed. Biometrics, however,

are biologically unique to the individual; therefore, once compromised, the individual has no

recourse, is at heightened risk for identity theft, and is likely to withdraw from biometric-facilitated

transactions.” Id.

        ANSWER: The provisions of BIPA speak for themselves. Defendant denies the
allegations of Paragraph 2 to the extent they do not accurately recite the cited provisions of
BIPA.

        3.      In recognition of these concerns over the security of individuals’ biometrics, the Illinois

Legislature enacted BIPA, which provides, inter alia, that a private entity like Defendant may not obtain

and/or possess an individual’s biometrics unless it: (1) informs that person in writing that biometric

identifiers or information will be collected or stored, see.id,; (2) informs that person in writing of the

specific purpose and length of term for which such biometric identifiers or biometric information is being

collected, stored and used, see id.; (3) receives a written release from the person for the collection of his

or her biometric identifiers or information, see. id.; and (4) publishes publicly available written retention

schedules and guidelines for permanently destroying biometric identifiers and biometric information, see

740 ILC5 14/15(a). Further, the entity must store, transmit and protect an individual’s biometric

identifiers and biometric information using the same standard of care in the industry and in a manner

at least as protective as the means used to protect other confidential and sensitive information. Id.

14/15(e). Finally the entity is expressly prohibited from selling, leasing, trading or otherwise profiting

from the individual’s biometrics. Id. 15/15(c).

        RESPONSE: The provisions of BIPA speak for themselves. Defendant denies the
allegations of Paragraph 3 to the extent they do not accurately recite the cited provisions of
BIPA.




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         4.     In direct violation of each of the foregoing provisions of §15(a) and § 15(b) of

BIPA, Defendant is actively collecting, storing, and using – without providing notice, obtaining informed

written consent or publishing data retention policies — the fingerprint and associated personally

identifying information of thousands of Illinois residents employed by Defendant’s clients. Initially

collected from employees prior to or early on in their employment, employees’ fingerprint are stored by

Defendant in an electronic database and used to, inter alia, allow Defendant’s clients’ employees to clock

in. and clock out of work. Specifically, to allow its client’s employees to clock in and clock out of work

in Illinois and/or access point-of-sale sale systems, Defendant collects (via an electronic scanning device)

the employee’s fingerprint and stores the fingerprint in its fingerprint database along with credentials

corresponding to that employee. Then, when an employee places his or her fingerprint on one of

Defendant's scanning devices to clock in and clock out of work and/or access a point-of-sale

system, he or she is only granted access if the collected fingerprint matches a fingerprint stored in

Defendant’s database (which was collected during enrollment).

       RESPONSE: Defendant denies that it collects, stores, or uses its clients’ employees’
fingerprint, denies that it stores their fingerprints or associated credentials in a database,
and denies that its clients’ employees must match their fingerprint with that stored in its
database in order grant access to work. The remaining allegations of Paragraph 4 call for a
legal conclusion to which no response is required. To the extent a response is required,
Defendant denies same.

        5.      If Defendant’s database of digitized fingerprints were to fall into the wrong

hands, by data breach or otherwise, individuals to whom these sensitive biometric identifiers belong

could have their identities stolen or their financial and other highly personal information breached

and used for nefarious purposes. BIPA confers on Plaintiff and all other similarly situated Illinois

residents a right to know of such risks which are inherently presented by the collection and storage

of biometrics, and a right to know how long such risks will persist after their employment with the

company ends. Yet Defendant never adequately informed any of the Illinois residents whose




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biometrics it collected and stored of Defendant’s biometrics collection practices, never obtained

written consent from any of these individuals regarding its biometric practices, and never provided

any data retention or destruction policies to any of these individuals.

        ANSWER: Defendant denies that it has a database of digitized fingerprints and
therefore denies that individuals to whom sensitive biometric identifiers belong could have
their identities stolen or their financial or other highly personal information breached and
used for nefarious purposes. The protections BIPA confers on Plaintiff and other similarly
situated Illinois residents speak for themselves. Defendant denies the allegations of Paragraph
5 to the extent they do not accurately allege the protections conferred by BIPA. Defendant did
not collect or store biometrics of Plaintiff or other Illinois residents and therefore denies that
it needed to obtain written consent or data retention or destruction policies.

        6.      Plaintiff brings this action to prevent Defendant from further violating the rights of

Illinois residents, and to recover statutory damages for Defendant’s unauthorized collection,

storage and use of these individuals’ biometrics in violation of BIPA.

        ANSWER: Defendant admits that Plaintiff purports to bring this action as alleged
in Paragraph 6 but denies any basis to do so, denies any liability, and denies that Plaintiff is
entitled to recover any statutory damages. Further answering, the allegations of Paragraph
6 call for a legal conclusion to which no response is required. To the extent a response is
required, Defendant denies same.

                                             PARTIES

        7.      Plaintiff is, and has been at all relevant times, a resident and citizen of Chicago,

Illinois.

       ANSWER: Defendant lacks knowledge or information sufficient to form a belief
about the truth of the allegations of Paragraph 7 and therefore denies same.

        8.      Defendant is a corporation that maintains its headquarters in Warminster,

Pennsylvania.    Defendant is the owner, operator, and vendor of point-of-sale systems for

commercial enterprises including restaurants, casinos, and other hospitality venues.

         ANSWER: Defendant admits that it is a corporation with its headquarters in
Warminster, Pennsylvania. Defendant admits that it is a vendor of point-of-sale system to
its clients, which include hospitality establishments. Defendant denies the allegations that it
is an owner and operator of point-of-sale systems.




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                                     JURISDICTION AND VENUE

        9.       The court has personal jurisdiction over Defendant because the fingerprints that give rise

to this lawsuit were and still are (1) collected by Defendant at a facility in Cook County, Illinois, and (2)

stored by Defendant at a facility in Cook County, Illinois, and (3) used by Defendant at facilities in Cook

County, Illinois.

        ANSWER:           Defendant denies the allegations of Paragraph 9.

        10.      The Chancery Division is the appropriate venue for this action because it is a class

action, and additionally, because it seeks declaratory and injunctive relief.

      ANSWER: Defendant denies the allegations of Paragraph 10. Further answering,
see ECF Doc. No. 1.

                                       FACTUAL BACKGROUND

I.      Biometric information Privacy Act
          11.    In 2008, Illinois enacted BIPA due to the “very serious need [for] protections
the citizens of Illinois when it [comes to their] biometric information.” Illinois House Transcript, 2008
Reg. Sess. No. 276. B1PA makes it unlawful for a company to, inter alia, “collect, capture, purchase,
receive through trade, or otherwise obtain a person’s or a customer’s biometric identifiers biometric
information unless it first:

                           (1)    informs the subject in writing that a biometric
                identifier or biometric information is being collected or stored;
                        (2)    informs the subject in writing of the specific
                purpose and length of term for which a biometric identifier or
                biometric information is being collected, stored, and used; and
                         (3)    receives a release executed by the subject of the
                biometric identifier or biometric information or the subject’s
                legally authorized representative.”
740 ILCS 14/15 (b).

        ANSWER: Illinois House Transcript, 2008 Reg. Sess. No. 276 and the cited provisions
of BIPA speak for themselves. Defendant denies the allegations of Paragraph 11 to the extent they
do not accurately recite Illinois House Transcript, 2008 Reg. Sess. No. 276 and the cited provisions
of BIPA.




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        12.     Section 15(a) of BIPA also provides:

               A private entity in possession of biometric identifiers or biometric
               information must develop a written policy made available to the public,
               establishing a retention schedule and guidelines for permanently destroying
               biometric identifiers and biometric information when the initial purpose for
               collecting or obtaining such identifiers or information has been satisfied or
               within 3 years of the individual’s last interaction with the private entity,
               whichever occurs first.
740 ILCS 14/15(a).

        ANSWER:        The provisions of BIPA speaks for themselves. Defendant denies the
allegations of Paragraph 14 to the extent they do not accurately recite the cited provision of BIPA.

        13.     As alleged below, Defendant’s practices of collecting, storing and using

individuals’ biometric identifiers (specifically, fingerprints) and associated biometric information

without informed written consent violate all three prongs of 15(b) of BIPA. Defendant’s failure to

provide a publicly available written policy regarding their schedule and guidelines for the retention

and permanent destruction of individuals’ biometric identifiers and biometric information also

violates §15(a) of BIPA.

       ANSWER: The allegations of Paragraph 13 call for a legal conclusion to which no
response is required. To the extent a response is required, Defendant denies same.

II.     Defendant Violates Illinois Biometric Information Privacy Act

        14.     Unbeknownst to the average consumer, and in direct violation of § 15(b)(1) of

BIPA, Defendant scans and collects, and then indefinitely stores in an electronic database, digital

copies of its client’s employees’ fingerprints during the initial process of enrolling these

individuals in its database of fingerprints in Illinois, as well as where employees clock in and

clock out of work and/or attempt to access a point-of-sale system at one of Defendant’s clients’

Illinois-based locations where Defendant’s biometrics technology is used — all without ever

informing anyone of this practice in writing.




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      ANSWER: Defendant denies that it scans, collects and stores its clients’
employees’ fingerprints or digital copies of its clients’ fingerprints in the manner alleged or
otherwise and denies the allegations of Paragraph 14. Further answering, the allegations of
Paragraph 14 call for a legal conclusion to which no response is required. To the extent a
response is required, Defendant denies same.

         15.     In direct violation of §§ 15(b)(2) and 15(b)(3) of B1PA, Defendant never

informed Illinois residents who had their fingerprints collected of the specific purpose and

length of term for which their biometric identifiers or information would be collected, stored

and used, nor did Defendant obtain a written release from any of these individuals.

        ANSWER: Defendant denies that it collected, stored or used fingerprints of
Illinois residents. Further answering, the allegations of Paragraph 15 call for a legal
conclusion to which no response is required. To the extent a response is required,
Defendant denies same.

         16.     In direct violation of §15(a) of BIPA, Defendant does not have written, publicly

available policies identifying their retention schedules, or guidelines for permanently destroying any

of these biometric identifiers or biometric information.

       ANSWER: The allegations of Paragraph 16 call for a legal conclusion to which
no response is required. To the extent a response is required, Defendant denies same.
III.     Plaintiff Ronesha Smith’s Experience

           17.   Jimmy John’s, Inc. (“Jimmy John”) is a nationwide fast food franchisor. Jimmy

John’s mandates the use of Defendant’s point-of-sale system as a franchise requirement.

        ANSWER: Defendant admits that Jimmy John’s is a fast food franchisor. Defendant
lacks knowledge or information sufficient to form a belief about the truth of the remaining
allegations of Paragraph 17 and therefore denies same.

         18.     From approximately July 2019 through September 2019, Plaintiff was employed

by a Jimmy John’s franchised restaurant in Evergreen Park, Illinois (the “Evergreen Park

Facility”).

        ANSWER: Defendant admits that Jimmy John’s is a fast food franchisor. Defendant
lacks knowledge or information sufficient to form a belief about the truth of the remaining
allegations of Paragraph 18 and therefore denies same.



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        19.     During the course of Plaintiff’s employment at the Evergreen Park Facility,

Defendant, through its point-of-sale system, scanned and collected, and stored in an electronic

database, digital copies of Plaintiff’s fingerprints.

       ANSWER: Defendant denies that it scanned, collected and/or stored Plaintiff’s
fingerprints or digital copies of same in an electronic database. Defendant lacks knowledge
or information sufficient to form a belief about the truth of the remaining allegations of
Paragraph 19 and therefore denies same.

        20.     Plaintiff used her fingerprint to clock in and clock out of the Evergreen Park Facility

on a daily basis during her employment. Plaintiff was required to place her finger on a fingerprint scanner,

which scanned, collected and stored her fingerprint each time she attempted to clock in and clock out of

work at the Evergreen Park Facility. Defendant’s sophisticated fingerprint matching technology then

compared Plaintiff’s scanned fingerprint against the fingerprints previously stored in Defendant’s

fingerprint database, at which point Plaintiff was able to clock in and clock out of work at Defendant’s

Evergreen Park Facility.

        ANSWER: Defendant denies that it scanned, collected, or stored Plaintiff’s fingerprints
in a fingerprint database, and further denies that its fingerprint technology compared Plaintiff’s
scanned fingerprint against fingerprints previously stored in a fingerprint database. Defendant
lacks knowledge or information sufficient to form a belief about the truth of the remaining
allegations of Paragraph 20 and therefore denies same.

        21.     Plaintiff never consented, agreed or gave permission – written or otherwise – to.

Defendant for the collection or storage of her unique biometric identifiers or biometric information.

        ANSWER: Defendant denies that it collected or stored Plaintiff’s unique biometric
identifiers or biometric information and therefore denies that Plaintiff’s consent, agreement or
permission was required.

        22.     Further, Defendant never provided Plaintiff with nor did she ever sign a written

release allowing Defendant to collect or store her unique, biometric identifiers or biometric

information.




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        ANSWER: Defendant denies that it collected or stored Plaintiff’s unique
biometric identifiers or biometric information and therefore denies that it was required to
provide to or receive from Plaintiff a written release.

        23.     Likewise, Defendant never provided Plaintiff with the requisite statutory

disclosures nor an opportunity to prohibit or prevent the collection, storage or use of her unique

biometric identifiers or biometric information.

        ANSWER: Defendant denies that it collected, stored or used Plaintiff’s unique
biometric identifiers or biometric information, and therefore denies that it was required to
provide Plaintiff with statutory disclosures or an opportunity to prohibit or prevent such
collection, storage or use of her biometrics.

          24.   By collecting Plaintiff’s unique biometric identifiers or biometric information

without her consent, written or otherwise, Defendant invaded Plaintiff’s statutorily protected

right to maintain control over her biometrics.

         ANSWER: Defendant denies that it collected Plaintiff’s unique biometric
identifiers or biometric information and therefore denies that it was required to receive
her consent and denies the remaining allegations of Paragraph 24.

        25.     Finally, Defendant never provided plaintiff with a retention schedule and/or

guidelines for permanently destroying her biometric identifiers and biometric information.

      ANSWER: Defendant was not in possession of biometric identifier and biometric
information and therefore denies that it was required to provide Plaintiff with a retention
schedule or guidelines for permanently destroying same.

                                      CLASS ALLEGATIONS

        26.     Class Definition: Plaintiff brings this action pursuant to 735 ILCS 5/2-801 on

behalf of a class of similarly situated individuals, defined as follows: (the “Class”):

                All individuals who had their .fingerprints collected, captured,
                received, or otherwise obtained; and/or stored, by Defendant in
                Illinois.
The following are excluded .from the Class: (1) any Judge presiding over this action and members of his or

her family; (2) Defendant, Defendant’s subsidiaries, parents, successors, predecessors, and any entity in




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which Defendant or its parent has a controlling interest (as well as current or former employees, officers and

directors); (3) persons .who properly execute and file a timely request for exclusion from the Class; (4)

persons whose claims in this matter have been finally adjudicated on the merits or otherwise released;

(5).Plaintiff s counsel and Defendant’s counsel; and (6) the legal representatives, successors and assigns of

any .such excluded persons.

        ANSWER:          Defendant admits that Plaintiff purports to bring this action as a putative
class action but denies the existence of a class and further denies the allegations of Paragraph 26.

        27.     Numerosity: Pursuant to 735 ILCS 5/2-801(1), the number of persons within the

Class is substantial, believed to be an amount to at least hundreds and possibly thousands of persons.

It is, therefore, impractical to join each member of the Class as a named Plaintiff. Further, the size and

relatively modest value of the claims of the individual members of the Class renders joinder

impractical. Accordingly; utilization of the class action mechanism is the most economically feasible

means of determining and adjudicating the merits of this litigation.              Moreover, the Class is

ascertainable and identifiable from Defendant’s records.

        ANSWER:          Defendant denies the allegations of Paragraph 27.

        28.     Commonality and Predominance: Pursuant to 735 ILCS 5/2-801(2) there are well-

defined common questions of fact and law that exist as to all members the Class and that predominate

over any questions affecting only individual members of the Class. These common legal and factual

questions, which do not vary from Class member to Class member, and which may be determined

without reference to the individual circumstances any class member include, but are not limited to, the

following:

        (a)     Whether Defendant Collected or otherwise obtained Plaintiff’s and the Class’s

fingerprints;




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        (b)       whether Defendant collected or otherwise obtained Plaintiff’s and the Class’s

biometric identifiers or biometric information;

        (c)       whether Defendant properly informed Plaintiff and the Class that it collected, used,

and stored their biometric identifiers, or biometric information;

        (d)       whether Defendant obtained a written release (as defined in 740 ILCS 1410) to

collect, use, and store Plaintiff's and the Class’s biometric identifiers or biometric information;

        (e)       whether Defendant developed a written policy, made available to the public,

establishing a retention schedule and :guidelines for permanently destroying biometric identifiers

and biometric information when the initial purpose for collecting or obtaining such identifiers or

information has been satisfied or within 3 years of their last interaction, whichever occurs first;

        (f)       whether Plaintiff's and the Class’s biometric information that Defendant collected

was capable of identifying them; and

        (g)       whether Defendant’s violations of BIPA were committed intentionally, recklessly,

or negligently.

        RESPONSE: Defendant denies the allegations of Paragraph 28.

        29.       Adequate Representation: Pursuant to 735 1LCS 5/2-801(3), Plaintiff has retained

and is represented by qualified and competent counsel who are highly experienced in complex

consumer class action litigation. Plaintiff and her counsel are committed to vigorously prosecuting

this class action. Moreover, Plaintiff is able to fairly and adequately represent and protect the

interests of such a Class. Neither Plaintiff nor her counsel has any interest adverse to; or in conflict

with, the interests of the absent members of the Class. Plaintiff has raised viable statutory claims of

the type .reasonably expected to be raised by members of the Class, and will vigorously pursue those

claims. If necessary, Plaintiff may seek leave of this Court to amend this




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Class Action Complaint to include additional Class representatives to represent the Class or

additional claims as may be appropriate.

        ANSWER:          Defendant denies the allegations of Paragraph 29.

          30.   Superiority: Pursuant to 735 ILCS 5/2-801(4), a class action is superior to other

available methods for the fair and efficient adjudication of this controversy because individual

litigation of the claims of all Class members is impracticable. Even if every member of the Cass

could afford to pursue individual litigation, the Court system could not. It would be unduly

burdensome to the courts in which individual litigation of numerous eases would proceed.

Individualized litigation would also present the potential for varying, inconsistent or contradictory

judgments, and would magnify the delay and expense to all parties and to the court system resulting

from multiple trials of the same factual issues. By contrast, the maintenance of this action as a class

action, with respect to some or all of the issues presented herein, presents few management

difficulties, conserves the resources of the parties and of the court system and protects the rights

of each member of the Class. Plaintiff anticipates no difficulty in the management of this

action as a class action. Class-wide relief is essential to compel compliance with BIPA.

        ANSWER:          Defendant denies the allegations of Paragraph 30.

                                   FIRST CAUSE OF ACTION
                                 Violation of 740 ILCS 14/1, et seq.
                                (On Behalf of Plaintiff and the Class)

        31.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

      ANSWER:            Defendant incorporates the foregoing actions as if fully set forth in this
Paragraph 31.

        32.     BIPA makes it unlawful for any private entity to, among other things, “collect,

capture, purchase, receive through trade, or otherwise obtain a person’s or a customers’ biometric

identifiers or biometrics information, unless it first: (1) informs the subject . . . in writing that a




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biometric identifier or biometric information is being collected or stored; (2) informs the subject . . .

in writing of the specific purpose and length of term for which a biometric identifier or biometric

information is being collected, stored, and used; and (3) receives a written release executed by the

subject     of   the   biometric   identifier   or   biometric    information     .   .   .”   740      ILCS

14/15(b).

         ANSWER: The cited provisions of BIPA speak for themselves. Defendant denies the
allegations of Paragraph 32 to the extent they do not accurately recite the cited provisions of BIPA.

          33.    Defendant is a corporation and thus qualifies as a “private entity” under BIPA.

See .740 ILCS 14/10.

          ANSWER:        Defendant admits the allegation of Paragraph 33.

          34.    Plaintiff and the Class members are individuals who had their fingerprints, i.e.,

“biometric identifiers,” collected and stored by Defendant.       See 140 ILCS 14/10.

          ANSWER:        Defendant denies the allegations of Paragraph 34.

          35.    Plaintiff and the Class members are individuals, who had their “biometric

information” collected and stored by Defendant in the form of digitally encrypted code, derived

from Plaintiff’s and the Class members’ fingerprints, that uniquely identifies the individual to

whom a particular fingerprint belongs.

           ANSWER: Defendant denies the allegations of Paragraph 35.

          36.    Defendant systematically collected, used, and stored Plaintiffs and the. Class

members’ biometric identifiers and/or biometric information without first obtaining the

written release required by 740 ILCS 14/15(b)(3).

          ANSWER:        Defendant denies the allegations of Paragraph 36.

           37.    In fact, Defendant failed to properly inform Plaintiff or the Class in writing that

their biometric identifiers and/or biometric information were being collected, stored, or otherwise




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obtained, nor did Defendant inform Plaintiff or the Class Members in writing of the specific purpose

and length of term for which their biometric identifiers and/or biometric information was being

collected, stored, and used, as required by 740 ILCS .14/15(b)(1)-(2).

        ANSWER: Defendant denies that it collected, stored or otherwise used biometric
identifiers and/or biometric information of Plaintiff or the putative class and therefore denies
the allegations of Paragraph 37.

          38.   In addition, Defendant does not publicly provide a retention schedule, or

guidelines for permanently destroying the biometric identifiers and/or biometric information of

Plaintiff or the Class members, as required by BIPA. See 740 ILC 14/15(a). The failure by

Defendant to provide Plaintiff and the Class members with a retention schedule or guidelines for

permanently destroying Plaintiff’s or the Class members’ biometric identifiers or. Biometric

information constitutes an independent violation of the statute.

       ANSWER: Defendant denies that it is in possession biometric identifiers and/or
biometric information of Plaintiff or the putative class and therefore denies that it was
required to publicly provide a retention schedule or guidelines for permanently destroying
same. The remaining allegations of Paragraph 38 call for a legal conclusion to which no
response is required. To the extent a response is required, Defendant denies same.

        39.     Each instance in which Defendant collected, stored, used, or otherwise obtained

Plaintiff’s and/or the Class’s biometric identifiers and biometric information as described herein

constitutes a separate violation of the statute and of the right of Plaintiff and each Class member to

maintain control over these biometric identifiers and biometric information, as set forth in BIPA,

740 ILCS 14/1, et al.

        ANSWER: Defendant denies that it collected, stored, used or otherwise obtained
biometric identifiers and/or biometric information of Plaintiff or the putative class and
therefore denies the allegations of Paragraph 39. Further answering, the remaining
allegations of Paragraph 39 call for a legal conclusion to which no response is required. To
the extent a response is required, Defendant denies same.




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        40.     On behalf of herself and the proposed Class members, Plaintiff seeks: (1)

injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by

requiring Defendant to comply with BIPA’s requirements including BIPA’s requirements for the

collection, storage, and use of biometric identifiers and biometric information as described herein, and

for the provision of the requisite written disclosure to consumers; (2) statutory damages of $1,000.00 for

each and every violation pursuant to 740 ILCS 14/20(1) (or, alternatively of $5,000.00 for each and every

violation of BIPA to the extent committed intentionally or recklessly pursuant to 740 ILCS     14/20(2));

and (3) reasonable attorneys’ fees and costs and other litigation expenses pursuant to 740 ILCS 14/20(3).

         ANSWER: Defendant denies that Plaintiff and the putative class are entitled to the
relief sought in Paragraph 40 or any other relief.

                            AFFIRMATIVE AND OTHER DEFENSES

        Defendant, Signature Systems, Inc., through its attorneys, for its Affirmative and Other Defenses

to Plaintiff’s Complaint, state as follows:

                                    FIRST DEFENSE
         (Extraterritoriality/Dormant Commerce Clause/Commercial Free Speech)

        Plaintiff’s and each putative class member’s claims are barred in whole or in part to the

extent they require the extraterritorial application of BIPA and/or violate the Dormant Commerce

Clause where the alleged violations occurred outside of the State of Illinois such that enforcement

of the statute against Defendant would impermissibly regulate and control commercial activity

beyond state boundaries. Moreover, in regulating the commercial exchange of information in

private hands and requiring significant disclosures, BIPA infringes First Amendment protections

of commercial speech and against compelled speech.




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                                     SECOND DEFENSE
                                (Traceability and Redressability)

        Plaintiff’s and each putative class member’s claims are barred in whole or in part to the

extent that any purported injury, if any, is not fairly traceable to the alleged violation of BIPA or

negligence, and the relief sought would not redress any such injury. Plaintiffs claim that

Defendant’s alleged noncompliance with BIPA’s disregarded their privacy rights. Yet, strict

compliance with the statute (including obtaining advance written consent for the collection,

storage, and use of such data, and/or disclosing the purpose and length of term for same) would

not have stopped Plaintiffs or any putative class member from knowingly and voluntarily using

their respective employers’ timeclocks and finger scan devices and therefore, would not have

prevented the collection, storage, and use of any such data or otherwise mitigate against such

purported injuries.

                                     THIRD DEFENSE
                           (Good Faith and Substantial Compliance)

        The claims are barred in whole or in part because Defendant is not in possession of

“biometric identifiers” or “biometric information” as defined by BIPA. To the extent BIPA applies

to the components sold by Defendant to its customers, the claims are barred in whole or in part

based on Defendant’s good faith and reasonable interpretation of BIPA, substantial compliance

therewith, and/or absence of any intentional, reckless, or negligent violation of the statute.

                                      FOURTH DEFENSE
                                     (Statute of Limitations)

        Each putative class member’s claims may be barred in whole or in part to the extent time-

barred by the applicable one-year statute of limitations for publication of matter violating a right

of privacy (735 ILCS 5/13- 201), two-year statute of limitations to recover damages for injury to




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person or for a statutory penalty (735 ILCS 5/13-202), and/or five-year statute of limitations for

civil actions not otherwise subject to a limitations period (735 ILCS 5/13-205).

                                     FIFTH DEFENSE
                 (Estoppel, Waiver, Consent, Ratification, and Acquiescence)

        The claims are barred in whole or in part under the doctrines of estoppel, waiver,

ratification, and acquiescence. Plaintiffs and each putative class member actually or constructively

consented and agreed, either expressly or impliedly, or through a legally-authorized representative

or otherwise, to the non-invasive use of Defendant’ point-of-sale system, without threat, coercion

or compulsion, as part of the timekeeping procedures implemented by each putative plaintiff’s

employer, and continued to voluntarily use the finger-scanning devices with knowledge of their

operation.

                                        SIXTH DEFENSE
                                          (Due Process)

        Plaintiff’s claims are barred, in whole or in part, because the damages sought by Plaintiff

and the putative class are barred under the Due Process Clause of the Illinois and United States

Constitutions. The Complaint seeks liquidated damages for each alleged BIPA violation are

grossly excessive and disproportionate in light of the absence of any injury or harm to Plaintiff

and the putative class members, and therefore any award of liquidated damages to the Plaintiff or

putative class members would violate Signature Systems’ due process rights.

                                     SEVENTH DEFENSE
                              (Lack of Conduct to Implicate BIPA)

        Plaintiff’s claims are barred, in whole or in part, because Signature Systems did not retain,

store, collect, possess, capture, purchase, receive through trade, disclose or otherwise obtain

biometric identifiers or biometric information as defined under BIPA.




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                                          EIGHTH DEFENSE
                                             (Good Faith)

        Plaintiff’s claims are barred, in whole or in part, by Signature Systems’ good faith, and the

absence of negligent, intentional, or reckless conduct.

                                            NINTH DEFENSE
                                               (Rule 11)

        Plaintiff’s claims are unwarranted by existing law and have no reasonable basis in fact, and

are frivolous, legally unreasonable, without factual foundation, or asserted for an improper

purpose, in violation of Federal Rule of Civil Procedure 11.

                                           TENTH DEFENSE
                                              (Laches)

        The Complaint is barred in whole or in part by the doctrine of laches.

        WHEREFORE, Defendant, Signature Systems, Inc., requests that this Court enter judgment in

its favor and against Plaintiff and award it all other relief that it deems just and equitable.



                                                           Respectfully submitted,

                                                           Signature Systems, Inc., Defendant

                                                           By: Lisa Handler Ackerman


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                               CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that on March 28, 2022, she caused the foregoing
pleading to be filed with the court by electronic filing protocols using the CM/ECF system, and
that a copy of the same will therefore be electronically served upon all attorneys of record
registered with the court’s CM/ECF system.


                                                                 /s/ Lisa Handler Ackerman




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